301 F.2d 907
    Toney Campos MEJIA, Petitioner,v.UNITED STATES of America, Respondent.
    Misc. No. 1357.
    United States Court of Appeals Ninth Circuit.
    Dec. 19, 1961.
    
      William A. MacLaughlin, Los Angeles, Cal., and Gerald M. Doppelt, San Francisco, Cal., for petitioner.
      Francis C. Whelan, U.S. Atty., Thomas Ro Sheridan, Asst. U.S. Atty., Chief, Criminal Division, and Edward M. Medvene, Asst. U.S. Atty., Los Angeles, Cal., for respondent.
      Before POPE, HAMLEY and KOELSCH, Circuit Judges.
      PER CURIAM.
    
    
      1
      Counsel who successfully prosecuted the appeal in Mejia v. United States, 9 Cir., 291 F.2d 198, has made application to this court for leave to file a petition for a writ of mandamus on behalf of said Mejia and has filed an affidavit in support of that application setting forth the reasons and grounds which it is proposed to be set forth in such a petition.  Upon suggestion of this court the United States has filed a memorandum in opposition to the petitioner's application.
    
    
      2
      The matter presented by the motion of the petitioner for leave to file such petition was set down for hearing and argued before the court by counsel for petitioner and by counsel on behalf of the United States Attorney representing the United States.  Upon consideration of the application it is ordered that leave to file such petition for writ of mandamus be and the same is hereby denied.
    
    